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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


In re:                                         )      Chapter 11
                                               )
Auburn Foundry, Inc.,                          )      Case No. 04-10427
                                               )
Debtor.                                        )

    STATEMENT OF BANK OF AMERICA, N.A., IN SUPPORT OF AUBURN
FOUNDRY’S REQUEST FOR AN EMERGENCY SALE HEARING ON APRIL 22, 2005

          Bank of America, N. A. (“BofA”), as agent for the pre-petition secured lenders (the

“Lenders”), parties in interest in the chapter 11 case (the “Chapter 11 Case”) of the above-

captioned debtor and debtor-in-possession (the “Debtor”), by and through its undersigned

counsel, hereby files this Statement in Support of Auburn Foundry’s Request for an Emergency

Sale Hearing on April 22, 2005 (the “Request”).1 In support hereof, BofA represent as follows:

                                         BACKGROUND

          1.     On February 8, 2004 (the “Petition Date”), Auburn Foundry, Inc. (“Auburn”)

commenced its bankruptcy case (the “Chapter 11 Case”) by filing a voluntary petition in the

Bankruptcy Court for the Northern District of Indiana, Fort Wayne Division (the “Bankruptcy

Court”).

                                      CASH COLLATERAL

          2.     On February 9, 2004, Auburn filed an Emergency Motion For Order (I) Pursuant

to 11 U.S.C. § 363; (II) Providing Adequate Protection Regarding Use of Cash Collateral; and




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          Capitalized terms used herein and not otherwise defined shall have the meanings ascribed
          to them in the Request.


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(III) Scheduling Preliminary And Final Hearing Pursuant to Bankruptcy Rule 4001(B) (the

“Cash Collateral Motion”).

        3.     The Lenders objected to the Cash Collateral Motion. At the hearing on the Cash

Collateral Motion, the Lenders presented evidence that the value of their collateral was

approximately $27 to $27.5 million. The Lenders argued that notwithstanding the fact that they

were oversecured, the Debtor was rapidly losing money and customers. In support of their

argument, the Lenders presented evidence that the Debtor had consistently failed to meet its

overly-optimistic budgets in the past and was thus unlikely to meet them in the future. The Court

granted the Debtor the right to use cash collateral based on the first of the twin pillars of

bankruptcy: that an honest debtor is entitled to a fresh start.

                                            THE PLAN

        4.     As the Lenders predicted, the Debtor continued to lose money and customers.

The Debtor continued to underperform its budget, which was revised several times. Nonetheless,

the Debtor was able to convince certain shareholders, affiliates and board members of the Debtor

(the “Subordinated Lenders”) to make a subordinate debtor-in-possession financing loan and to

agree to fund a plan.

        5.     In March, just one month away from confirmation, the Subordinated Lenders

declared the subordinate debtor-in-possession loan in default and informed the Debtor and the

Lenders they were no longer willing to fund a plan.

        6.     Shortly thereafter, the Lenders declared a default under the Cash Use Agreement.




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                                MAXIMIZATION OF VALUE

        7.     After the Subordinated Lenders pulled out, the Lenders were faced with a

decision. The Lenders could cease funding and seek relief from the stay to liquidate their

collateral or continue funding losses to get to a going concern sale.

        8.     The Debtor and the Lenders reached an agreement pursuant to which the Debtor

would (a) obtain accommodation agreements from large customers that they would not set off

against accounts receivable in exchange for the Debtor’s agreement to produce through April 22,

2005, (b) send out WARN notices to employees informing them that the Debtor would cease

operating on April 22, and (c) market the Debtor’s assets for sale as a going concern to close no

later than April 22, 2005. In reliance on that agreement, the Lenders agreed to fund hundreds of

thousands of dollars of unpaid administrative expenses and approximately $250,000 per week in

losses. The agreement was shared with the Creditors’ Committee immediately upon execution.

        9.     The accommodation agreements have been entered into, the WARN Notices have

been sent and the sale process has begun.

                                      THE SALE MOTION


        10.    The Debtor selected The Reserve Group as its stalking horse bidder. Based on the

stalking horse bid, the Lenders’ collateral is now worth less than $10 million.

        11.    The Debtor filed and served a sale motion on or about March 31, 2005, more than

20 days in advance of the proposed April 22, 2005 hearing date. Multiple parties are expected to

bid on the assets. All parties have conditioned their bids on the continued operation of the

Debtor through closing.




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                                          ARGUMENT

        12.    After April 22, 2005, absent a going concern sale, the customers who entered into

accommodation agreements and the Debtor’s employees are expected to leave.

        13.    Even if losses after April 22, 2005 were no worse than the current $250,000 per

week and even if the Lenders were to agree to fund those losses for two or three more weeks to

get to a non-emergency sale, it is doubtful the Debtor could continue to operate until closing.2

        14.    The Lenders understand that due process is extremely important and that

emergency hearings should be held only in rare circumstances. However, where, as here, there is

evidence that the Debtor’s assets have declined in value more than $17 million since the Petition

Date and the Debtor continues to lose money and value at an alarming rate, an emergency sale

hearing is warranted.




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        If the Debtors are unable to continue to operate, all employees would be immediately be
        let go.

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        WHEREFORE, the Lenders respectfully request that the Court grant the Debtor’s

Request.



April 12, 2005                       Respectfully submitted,



                                                   /s/ Grant F. Shipley
                                            Grant F. Shipley
                                            SHIPLEY & ASSOCIATES
                                            233 West Baker Street
                                            Fort Wayne, Indiana 46802
                                            (260) 422-2700

                                            and

                                            Josef S. Athanas
                                            Caroline A. Reckler
                                            LATHAM & WATKINS, LLP
                                            233 South Wacker Drive
                                            Sears Tower, Suite 5800
                                            Chicago, Illinois 60606
                                            Telephone: (312) 876-7700
                                            Facsimile: (312) 993-9767

                                            Attorneys of Bank of America, N.A.




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                                  CERTIFICATE OF SERVICE

        I certify that on the 12th day of April, 2005, service of a true and exact copy of the above and

foregoing pleading was served electronically through the Court’s ECF system to:

 Becket & Lee, LLP                  Gary D. Boyn                      John R. Burns
 John R. Burns (DM)                 John R. Burns (JF)                John R. Burns (SR)
 Henry A. Efroymson                 Stephen L. Fink                   Edmund P. Kos
 Brian J. Lange                     Stephen E. Lewis                  Marlene Reich (DKW)
 Brad Rogers                        Tricia A. Sherick                 Michael Dunstan Story (BW)
 Ellen L. Triebold                  W. Erik Weber                     Mark Werling (DM)
 Mark Werling (TW)                  Elizabeth A. Whelan               James T. Young


        And by depositing same in the United States Mail in envelopes properly addressed to them

and with sufficient first class postage affixed to:

 Lawrence S. Crowther                                 Honigman Miller Schwartz & Cohn LLP
 6055 Rockside Woods Blvd., Ste. 200                  2290 First National Building
 Cleveland, OH 44131                                  660 Woodward Avenue
                                                      Detroit, MI 48226
 Patrick L. Proctor                                   Mark A. Warsco
 Eilbacher Fletcher LLP                               Rothberg Logan & Warsco
 803 S. Calhoun St., Ste. 2100                        110 W. Berry St., Ste. 2100
 Fort Wayne, IN 46802                                 P.O. Box 11647
                                                      Fort Wayne, IN 46859

                                                 /s/ Grant F. Shipley
                                                Grant F. Shipley
